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1                                                                         Honorable Barbara J. Rothstein

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7                               IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
8

9         ALBERTO RIVERA MONROY, et al.,                    Case No. 2:21-cv-00813-BJR
10                           Plaintiffs,                    DEFENDANT MORTGAGE
                  v.                                        ELECTRONIC REGISTRATION
11
                                                            SYSTEMS, INC.’S MOTION TO
12        REAL TIME RESOLUTIONS, INC., et al.,              DISMISS PLAINTIFFS’ COMPLAINT
                                                            WITH PREJUDICE AND
13                           Defendants.                    MEMORANDUM IN SUPPORT
14

15                                  CERTIFICATION OF CONFERRAL
16          The undersigned certifies that on August 19, 2021, MERS’ counsel met and conferred with
17   counsel for Plaintiffs by telephone. The parties made a good faith effort to resolve the dispute,
18   discussed each of the arguments herein in detail, but have been unable to do so. During the August 19,
19   2021 telephone conversation, counsel for MERS notified Plaintiffs’ counsel that MERS would request
20   dismissal of the claims pending against MERS.
21                                                MOTION
22          Defendant Mortgage Electronic Registration Systems, Inc. (“MERS” or “Defendant”) hereby
23   moves this Court under Federal Rule of Civil Procedure 12(b)(6) for an order dismissing Plaintiffs’
24   Complaint with prejudice as to MERS.
25   //

26   //


     DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’                                      HOLLAND & KNIGHT LLP
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     CV-00813-BJR- PAGE 1                                                               Telephone: 503.243.2300
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1                          MEMORANDUM OF POINTS AND AUTHORITIES

2    I.     INTRODUCTION

3           Plaintiffs ask this Court to grant them an unequitable windfall and let them walk away from

4    their second mortgage without paying it off. They make no claim to having actually paid this debt that

5    they undisputedly incurred. Rather, their entire basis for seeking this unwarranted windfall is a

6    defective reconveyance recorded in the public records that plainly has no intentional relationship to

7    their second mortgage. The defective reconveyance references a different borrower and a different

8    lender. In relying entirely on this defective reconveyance, Plaintiffs wholly omit any reference to the

9    unrelated borrower and unrelated lender set forth in the document, clinging entirely to the reference in

10   the reconveyance to a recorded document number that inadvertently matches the document number for

11   the deed of trust securing their second mortgage. Plaintiffs’ contrived claims based on this obviously

12   unrelated reconveyance must be dismissed. The reconveyance did not “extinguish” their deed of trust.

13   They are plainly not entitled to the unequitable relief that they are seeking from a debt that they do not

14   even claim was repaid.

15          Based on a dubious set of facts, Plaintiffs bring suit against their current deed of trust

16   beneficiary, trustee, and MERS, as the former designated nominee for the original beneficiary, its

17   successors and assigns. Plaintiffs assert five claims against MERS for: (1) alleged violation of Deed of

18   Trust Act (“DTA”); (2) for declaratory judgment; (3) alleged violation of the Washington Consumer

19   Protection Act (“CPA”); (4) for negligent misrepresentation; and (5) for negligence. These claims are

20   unsupported by both fact and Washington law.

21          Initially, Plaintiffs incorrectly allege that MERS has signed “conflicting” documents by

22   recording the alleged reconveyance of the deed of trust and then a later assignment of the deed of trust.

23   However, it is apparent from the face of the reconveyance, which was attached to the Complaint, that

24   MERS did not even execute the disputed reconveyance portion of the document. This fact alone

25   requires dismissal of Plaintiffs’ CPA and negligent misrepresentation claims.

26   //


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1            Moreover, MERS has no interest in the property and has taken no action to foreclose the

2    property. Accordingly, the Court should also dismiss Plaintiffs’ claim for injunctive and declaratory

3    relief against MERS.

4            Further, their claim under the DTA is based solely on the assignment, executed by MERS,

5    which Plaintiffs allege to be improper. However, Washington law is clear: as non-parties to the

6    assignment, Plaintiffs have no standing to challenge the assignment. Therefore, the DTA claim also

7    fails as a matter of law.

8            Finally, Plaintiffs’ negligence claim against MERS must be dismissed because MERS, in its

9    role as designated nominee for the original beneficiary of the deed of trust, its successors and assigns,

10   owed Plaintiffs no duty under Washington law.

11           Because it is impossible for Plaintiffs to assert a legal cause of action against MERS, Plaintiffs’

12   Complaint must be dismissed with prejudice as to MERS.

13   II.     FACTUAL ALLEGATIONS

14           A.       Plaintiffs Grant the Subject Deed of Trust

15           On February 28, 2007, Plaintiffs Alberto Rivera Monroy and Irma Parra-Rivera (“Plaintiffs’”)

16   executed a Deed of Trust (the “Deed of Trust”) in favor of MERS as designated nominee for Liberty

17   Financial Group, Inc., beneficiary of the Deed of Trust, its successors and assigns (“Liberty”), to secure

18   a note in the amount of $79,600. The Deed of Trust is attached hereto as Exhibit “A”.1 The Deed of

19   Trust is recorded in the Official Records at 20070301001246 of the Public Records of King County,

20   Washington. Id. The Deed of Trust was for a second mortgage on Plaintiffs’ property. See Compl. ¶

21   11.

22   //

23   //

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     1
      Defendant’s exhibits A, B, D and E were each attached as exhibits to Plaintiffs’ complaint. See Compl. Exhibits A, B, D,
25   and E., As such, they are properly before the Court as part of this Motion and are simply attached hereto for the Court’s
     convenience.
26


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1             B.       The Alleged Reconveyance Doesn’t Name Plaintiffs

2             Plaintiffs contend that, on April 23, 2009, a Substitution of Trustee and Deed of Reconveyance

3    was recorded in the Official Records at 20090603001231 of the Public Records of King County,

4    Washington (the “Reconveyance”) related to their Deed of Trust. A true and correct copy is attached

5    hereto as Exhibit “B.” However, this purported Reconveyance plainly bears no intentional connection

6    to Plaintiffs or their Deed of Trust. The plain language of the Reconveyance reveals:

7             (1) it was for a different borrower, “Meagan Evans,” who is named as the original trustor and

8    is not a party in this litigation;

9             (2) the date of the subject deed of trust referenced in the Reconveyance was “2/24/04,” which

10   does not match the recording date for Plaintiffs’ Deed of Trust; and

11            (3) the Reconveyance references a different indebtedness held by a different lender,

12   “Neighborhood Mortgage Inc.” Id.

13   The only piece of information in the Reconveyance that connects in any manner to Plaintiffs is the

14   reference to “Doc. No.: 20070301001246,” which inadvertently matches the Deed of Trust document

15   number. Ex. A.2

16            Notably, Plaintiffs make no claim to have paid the underlying indebtedness or to have otherwise

17   satisfied the debt secured by the Deed of Trust to explain why it would be reconveyed. See Compl.,

18   generally.

19            C.       MERS Assigned Its Interest In the Deed of Trust

20            On May 12, 2020, MERS assigned its interest in the Deed of Trust (the “Assignment”) to

21   defendant Real Time Resolutions, Inc. (“Real Time”). A true and correct copy of the Assignment is

22   attached hereto as Exhibit “D”. The Assignment references the correct borrowers, original lender, and

23   2
       The deed of trust for Meagan Evans, which was repeatedly referenced in the Reconveyance, was filed as instrument
     number 20040301001246 on February 24, 2004. A copy of the publically recorded deed of trust is attached hereto as
24   Exhibit “C”. A comparison of the instrument numbers for Plaintiffs’ Deed of Trust and the Meagan Evans deed of trust
     reveals the numbers nearly match, except for one number. The Meagan Evans deed of trust is referenced in Plaintiffs’
25   exhibits and the Court may take judicial notice of the deed of Trust as a publically recorded document. See, e.g., Petheram
     v. Wells Fargo Bank, 2013 WL 4761049, at *1 (W.D. Wash. Sept. 3, 2013); Campidoglio LLC v. Wells Fargo & Co., 2012
26   WL 4514333, at *3 (W.D. Wash. Oct. 2, 2012) (taking judicial notice of mortgage notes and deeds of trust).


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1    recording date for the Deed of Trust. Id.        Real Time has recorded a Notice of Default (“NOD”)

2    indicating that Plaintiffs’ second mortgage loan has not been paid off and Plaintiffs defaulted on the

3    loan years ago. A true and correct copy of the NOD is attached hereto as Exhibit E. Real Time has

4    noticed a Trustee’s Sale currently set for October 1, 2021. See Compl. ⁋ 20.

5            D.      Plaintiffs’ Current Claims

6            On June 15, 2021, Plaintiffs filed the Complaint. Dkt. 1. Plaintiffs allege five claims against

7    MERS for: alleged violation of Deed of Trust Act (“DTA”) (claim three); for declaratory judgment

8    (claim four); violation of the Washington Consumer Protection Act (“CPA”) (claim five); for negligent

9    misrepresenation (claim six); and for negligence (claim seven). Id., generally. Each of the claims as

10   to MERS fail as a matter of law and MERS seeks dismissal with prejudice as to each and every claim.

11   III.    LEGAL STANDARD

12           A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the pleadings. Navarro v.

13   Block, 250 F.3d 729, 732 (9th Cir. 2001). Dismissal can be based on the lack of a cognizable legal

14   theory, the absence of sufficient facts alleged under a cognizable legal theory, or both. Robertson v.

15   Dean Witter Reynolds, Inc., 749 F.2d 530, 534 (9th Cir. 1984).

16           Dismissal under Rule 12(b)(6) is appropriate where the factual allegations do not raise the right

17   to relief above mere speculation. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A “plaintiff’s

18   obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and

19   conclusions.” Id. Indeed, the Supreme Court clarified after Twombly that “the tenet that a court must

20   accept all of the allegations contained in [a pleading that states a claim for relief] is inapplicable to legal

21   conclusions,” and emphasized that “[t]hreadbare recitals of the elements of a cause of action, supported

22   by mere conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The

23   pleading must show “more than the mere possibility of misconduct,” and “only a [pleading] that states

24   a plausible claim for relief survives a motion to dismiss.” Id. at 679; see also Gossen v. JPMorgan

25   Chase Bank, 819 F. Supp. 2d 1162, 1167 (W.D. Wash. 2011) (to survive a motion to dismiss,

26


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1    “reasonable inferences from [non-conclusory factual content] must be plausibly suggestive of a claim

2    entitling the pleader to relief”).

3            Moreover, in ruling on a Rule 12(b)(6) motion, “the court need not … accept as true allegations

4    that contradict matters properly subject to judicial notice or by exhibit. Nor is the court required to

5    accept as true allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable

6    inferences.” Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001) (citations omitted);

7    see also Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1295-96 (9th Cir. 1998) (courts are “not

8    required to accept as true conclusory allegations which are contradicted by documents referred to in

9    the complaint”).

10   IV.     ARGUMENT

11           A.      Plaintiffs Lack Standing To Challenge The Assignment Under The DTA

12           In Claim Three, Plaintiffs allege that MERS violated the DTA in assigning the Deed of Trust

13   following the Reconveyance because the Deed of Trust “failed to exist.” Compl. ⁋ 38. Plaintiffs’ DTA

14   claim fails as a matter of law because it is based solely on MERS’ purported assignment of the Deed

15   of Trust, which Plaintiffs have no standing to challenge.

16           There is ample authority that borrowers, as strangers to the document, lack standing to challenge

17   an assignment they did not sign. Beck v. U.S. Bank Nat’l Ass’n, CASE NO. C17-0882JLR, 12 (W.D.

18   Wash. Dec. 14, 2017); McPherson v. Homeward Residential, 2014 WL 442378, *6 (W.D. Wash. 2014)

19   (“recording of an assignment of a deed of trust does not affect a borrower’s rights”); Ukpoma v. Us.

20   Bank, NA., 2013 WL 1934172, *4 (E.D. Wash. 2013) (“Plaintiff, as a third party, lacks standing to

21   challenge” assignment) (citing cases); Brodie v. Nw. Tr. Serv., Inc., 2012 WL 6192723, *2-3 (E.D.

22   Wash. 2012) (borrower lacks standing to attack assignment because the borrower is not a party to it

23   and thus cannot be injured by it), aff’d - Fed. Appx --, 2014 WL 2750123, *1 (9th Cir. 2014) (“Brodie

24   lacks standing to challenge the assignment.”). See also, RCW 65.08.120 (assignment does not affect

25   borrower). A borrower cannot mount a challenge to the assignment unless a borrower has a genuine

26   claim that they are at risk of paying the same debt twice if the assignment stands.” Borowski v. BNC


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1    Mortg., Inc., No. C12-5867 RJB, 2013 WL 4522253, at *5 (W.D. Wash. Aug. 27, 2013); see Lake v.

2    MTGLQ Investors, LP, No. C17-0495JLR, 2017 WL 383950, at *6 (W.D. Wash. Sept. 1, 2017) (“[The

3    plaintiff] lacks standing to challenge the assignment of his deed of trust because he has not alleged that

4    he is at a genuine risk of paying the same debt twice.”); Zhong v. Quality Loan Service Corp. of Wash.,

5    No. C13-0814JLR, 2013 WL 5530583, at *3 (W.D. Wash. Oct. 7, 2013) (“Ms. Zhong, as a borrower

6    and third party to the transactions, lacks standing to challenge the Assignment and the Appointment.”).

7           Here, Plaintiffs are not a party to the Assignment. See Ex. D. As such, they are strangers to the

8    Assignment and have no standing to challenge the Assignment to Real Time. Additionally, Plaintiffs

9    do not allege (nor could they) that they actually paid the debt secured by the Deed of Trust. See Compl.,

10   generally. If they did not pay it off once, they cannot possibly be in danger of paying the same debt

11   twice, which is a prerequisite to challenging any Assignment. See Borowski, 2013 WL 4522253, at *5

12   (W.D. Wash. Aug. 27, 2013). Moreover, the recording of the Assignment in May 2020 did not cause

13   Plaintiffs to default on their mortgage loan, which occurred years earlier. See Exs. D and E.

14          Even if the Assignment is deemed improper, which is denied, it is the possession of the

15   promissory note with the power to enforce it that determines a beneficiary’s standing, rather than any

16   assignment of the deed of trust. See, e.g., Myers v. Mortg. Elec. Registration Sys., No. 11-cv-05582

17   RBL, 2012 WL 678148, at *3 (W.D. Wash. Feb. 24, 2012) (“Even if MERS had improperly assigned

18   the Deed, Flagstar is empowered as the beneficiary to appoint the trustee because it holds [plaintiff’s]

19   Note, not because of the assignment.”); Lynott v. Mortg. Elec. Registration Sys., Inc., No. 12-cv-5572-

20   RBL, 2012 WL 5995053, at *2 (W.D. Wash. Nov. 30, 2012 (“U.S. Bank is the beneficiary of the Deed

21   because it holds Plaintiffs Note, not because MERS assigned it the Deed.”); McPherson v. Homeward

22   Residential, No. Cl2-5920, 2014 WL 442378, at *5 (W.D. Wash. Feb. 4, 2014) (U.S. Bank had

23   authority to enforce the Note and Deed of Trust, even absent a recorded assignment from Option One).

24   Accordingly, Plaintiffs can’t demonstrate that they have been damaged by the Assignment, as it is not

25   what empowers the beneficiary to pursue a foreclosure under Washington law.

26


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1            Under established precedent, Plaintiffs have no standing to challenge the Assignment and have

2    no damages arising from the Assignment. As a result, their DTA claim against MERS based solely on

3    the Assignment fails and should be dismissed.

4            B.      Plaintiffs’ Declaratory Judgment Claim Fails Because MERS Has No Interest In

5                   the Property

6            In Claim Four, Plaintiffs assert they are entitled to a declaratory judgment to restrain the

7    foreclosure against their property because the Deed of Trust being foreclosed on was “extinguished.”

8    See Compl. ⁋⁋ 44-45. However, the claim fails as to MERS because MERS is not pursuing the

9    foreclosure. MERS previously assigned any interest that it possessed under the Deed of Trust to Real

10   Time.

11           The Declaratory Judgment Act authorizes a court to issue a judgment declaring rights, status,

12   or other legal relations. To obtain such relief, a plaintiff must first present the court with a “justiciable

13   controversy.” Kitsap County v. Smith, 143 Wash. App. 893, 902–03 (2008). The justiciable controversy

14   requirement prevents courts from delivering impermissible advisory opinions. See To-Ro Trade Shows

15   v. Collins, 144 Wn.2d 403, 416 (2001).

16           Here, Plaintiffs seek to enjoin the foreclosure against their property, but again, MERS assigned

17   any interest in had in the Deed of Trust via the Assignment. See Ex. D. Moreover, the foreclosure is

18   being pursued by the co-defendants in this action, not MERS. See Ex. E. The undisputable fact that

19   MERS is not pursuing the foreclosure Plaintiffs seek to halt is fatal to the claim.

20           Based on Plaintiffs’ own allegations and exhibits, MERS is not pursuing the foreclosure of the

21   property and has not current interest in the property. Therefore, no controversy exists with MERS

22   regarding the pending foreclosure and the request for declaratory and injunctive relief as to MERS fails

23   as a matter of law.

24           C.      Plaintiffs Allege No Conduct of MERS That Is Actionable Under the CPA

25           In Claim Five, Plaintiffs contend MERS violated the CPA by recording “[A]ssignments of Deed

26   of Trust…that directly conflict with each other.” See Compl. ¶ 49. Plaintiffs appear to contend that


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1    “one reconveyed a mortgage lien” and the other purports to assign the same mortgage lien to another

2    entity. Id. Plaintiffs contend the conduct of MERS enabled the nonjudicial foreclosure, causing them

3    damages in the form of cloud of title, diminution of marketability, loss of equity, attorneys’ fees and

4    costs in defending the foreclosure, and “above all” having to pay more than $120,000 to save the

5    property. Id., ⁋ 55. However, Plaintiffs conflate MERS’ roles in the subject documents, which make

6    clear that MERS did not engage in conflicting or contradictory conduct.

7            To state a claim under the Consumer Protection Act (RCW 19.86 et seq.), Plaintiffs must allege

8    facts supporting each of the following elements: (1) that defendants committed an unfair or deceptive

9    act or practice; (2) that the act or practice occurred in trade or commerce; (3) that there was an effect

10   on the public interest; (4) that Plaintiffs were injured in their business or property; and (5) that the

11   defendant’s conduct was a proximate cause of the injury suffered. See Hangman Ridge Training

12   Stables, Inc. v. Safeco Title Ins. Co., 105 Wn.2d 778, 785 (1986). Plaintiffs fail to meet their pleading

13   burden as to MERS because MERS committed no unfair or deceptive act, nor has MERS caused

14   Plaintiffs any injuries.

15           Plaintiffs rely on the “Substitution of Trustee and Deed of Reconveyance,” which were each

16   executed by different entities. See Ex. B. MERS executed the Substitution of Trustee only, and not the

17   Deed of Reconveyance. Id.        Non-party Nationwide Title Clearing, Inc. executed the Deed of

18   Reconveyance. Id. MERS then later executed the Assignment of the Deed of Trust to Real Time. See

19   Ex. D. Plaintiffs’ exhibits demonstrate that at no time did MERS execute a deed of reconveyance of

20   the Deed of Trust. See generally, Compl.

21           Plaintiffs offer conclusory allegations that MERS caused conflicting documents to be recorded,

22   but these allegations are easily refuted by consulting the plain language of these documents. Moreover,

23   as discussed supra, Plaintiffs lack standing to challenge the Assignment executed by MERS. Since

24   Plaintiffs fail to allege any actionable conduct by MERS in to support the CPA claim, the claim fails

25   and should be dismissed with prejudice.

26


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1           Additionally, the CPA claim fails because Plaintiffs’ alleged injuries were not proximately

2    caused by MERS. Plaintiffs do not dispute they defaulted on the loan, which was the “but for” cause

3    of their alleged injuries. See, e.g., Gelinas v. Bank of Am., NA., No. 16–1355–RAJ, 2017 WL

4    1153859, at *5 (W.D. Wash. Mar. 28, 2017) (“Plaintiffs’ failure to meet their debt obligation is the

5    ‘but for’ cause of their purported damages. Therefore, any alleged damages cannot be attributed

6    to MERS.”); Babrauskas v. Paramount Equity Mortg., No. C13–0494–RSL, 2013 WL 5743903, at *4

7    (W.D. Wash. Oct. 23, 2013) (“Any damage to plaintiff’s credit, cloud on his title, or monetary effect

8    of the threat of foreclosure cannot be laid at MERS’ door .... [P]laintiff’s failure to meet his debt

9    obligations is the ‘but for’ cause of the default [and] foreclosure.”). Moreover, MERS is not pursuing

10   the foreclosure of Plaintiffs’ property.

11          Finally, as discussed in section 4.(A) above and incorporated herein, it is not the disputed

12   Assignment that empowers a beneficiary to pursue foreclosure under Washington law, but possession

13   of the note with the right to enforce. See §4.(A), supra. Accordingly, Plaintiffs’ contention that the

14   Assignment “enabled” the foreclosure is contrary to law and without merit.

15          Based on the foregoing, since MERS did not proximately cause Plaintiffs’ alleged injuries, the

16   CPA claim fails as a matter of law.

17          D.      Plaintiffs’ Negligent Misrepresentation Claim Fails Because MERS Did Not

18                  Supply Conflicting Information

19          In their claim for negligent misrepresentation, Plaintiffs contend that MERS “negligently

20   supplied conflicting information” to Plaintiffs and the public by signing two “Assignments of Deed

21   Trust” that directly conflict with each other. See Compl. ¶ 59. Plaintiffs contend MERS executed two

22   documents: one that reconveyed a mortgage lien on Plaintiffs’ property and the other document

23   purported to assign the mortgage lien. Id. Plaintiffs further allege that MERS should have known that

24   entities such as Real Time and Trustee Corps would rely on MERS’ information to commence

25   foreclosure. Id., ⁋ 60. However, Plaintiffs’ negligent misrepresentation is unsupported by Washington

26   law as set forth below.


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1           A negligent misrepresentation claim requires Plaintiffs to establish six elements by clear and

2    convincing evidence: (1) the defendant supplied information for the guidance of others in their business

3    transactions that was false, (2) the defendant knew or should have known that the information was

4    supplied to guide the plaintiff in his business transactions, (3) the defendant was negligent in obtaining

5    or communicating the false information, (4) the plaintiff relied on the false information, (5) the

6    plaintiff’s reliance was reasonable, and (6) the false information proximately caused the plaintiff

7    damages. Ross v. Kirner, 162 Wn.2d 493, 499–500 (2007). A plaintiff must prove he or she justifiably

8    relied upon the information negligently supplied by the defendant. Condor Enters., Inc. v. Boise

9    Cascade Corp., 71 Wash. App. 48, 52, 856 P.2d 713 (1993). The claim fails both because there is no

10   allegation that MERS supplied any false information and because Plaintiffs concede they were not the

11   party that relied on any alleged falsity.

12          Plaintiffs’ negligent misrepresentation claim also fails for the same reason their CPA claim

13   fails: MERS did not execute the Deed of Reconveyance. See § IV(C), supra. Plaintiffs again misstate

14   the contents of the Reconveyance document, trying in vain to assign liability to MERS for conduct of

15   a non-party. Such pleading is improper and Plaintiffs cannot otherwise demonstrate “contradictory”

16   documents executed by MERS, leaving no basis for their Negligent Misrepresentation claim.

17          Moreover, even if there was any “contradiction” in the specific documents MERS actually

18   executed, the claim still fails because Plaintiffs fail to establish that they relied upon the information.

19   Rather, their claim is based on the alleged reliance of third parties on the information. See Compl. ⁋ 60

20   (“entities such as RTR and Trustee Corps actively rely on MERS’s information…”). Plaintiffs do not

21   allege beyond mere conclusory allegations how they relied on the reconveyance, which they only

22   appear to have first discovered with the 2020 title search. Id., ⁋ 15; Steckman, 143 F.3d at 1295-96

23   (courts are not required to accept as true conclusory allegations). Rather, Plaintiffs do not dispute that

24   they defaulted on the Loan, which is the actual proximate cause of the foreclosure, not any conduct of

25   MERS. See Compl., generally. Since Plaintiffs fail to demonstrate how they themselves relied on any

26   alleged conduct, the claim fails as a matter law. Condor, 71 Wash. App. At 52.


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1           Based on these multiple fatal defects, the negligent misrepresentation claim should be dismissed

2    with prejudice. Ross, 162 Wn.2d 499–500.

3           E.      Plaintiffs’ Negligence Claim Fails as a Matter of Law on Multiple Grounds

4           In claim seven, for negligence, Plaintiffs contend that MERS owed Plaintiffs a duty of care not

5    to record documents that were false, misleading or conflicting with one another. See Compl. ⁋ 69.

6    Plaintiffs contend that due to MERS’ negligence, they are insecure about the title status of their

7    property, suffered a diminution of value of the property and their credit standing, but above all, have to

8    pay $120,000 to save the property from foreclosure. Id., ⁋ 70. However, Plaintiffs’ negligence claim

9    fails under Washington law. MERS does not owe Plaintiffs the duty alleged in the Complaint.

10          To prove actionable negligence, a plaintiff must establish the existence of a duty, a breach

11   thereof, a resulting injury, and proximate causation between the breach and the resulting injury. Ward

12   v. Bank of Am., CASE NO. 2:19-cv-00185, 5 (W.D. Wash. May. 14, 2019) (citing Schooley v. Pinch’s

13   Deli Mkt., Inc., 134 Wash.2d 468, 474 (1998)). The existence of a duty is a question of law. Id. The

14   burden of establishing a duty belongs to the plaintiff. Jackson v. City of Seattle, 158 Wash. App. 647,

15   652, 244 P.3d 425, 428 (2010). In Washington, a borrower is not owed a fiduciary duty arising from

16   an arms-length transaction. Johnson v. JP Morgan Chase Bank N.A., No. 14–5607 RJB, 2015 WL

17   4743918 at *8 (W.D. Wash. Aug. 11, 2015).

18          MERS’ role under the Deed of Trust is as designated nominee for the original lender. See Ex.

19   A (Deed of Trust). Since no duty is owed by the lender arising from an arms-length lending transaction

20   under Washington law, no duty is owed to Plaintiffs by MERS, solely as nominee for the original

21   lender. See Bain v. OneWest Bank, F.S.B., No. C09-0149-JCC, 2011 WL 917385, at *5 (W.D. Wash.

22   Mar. 15, 2011) (finding no duty owed by MERS in its role as beneficiary of the deed of trust).

23          Plaintiffs’ contention to the contrary that “every individual owes a duty of reasonable care to

24   refrain from causing foreseeable harm in his interactions with others” is refuted by binding Washington

25   precedent finding MERS owed no duty. See Compl. ⁋ 69; Bain, 2011 WL 917385, at *5. Aside from

26   conclusory allegations, Plaintiffs offer nothing to show why MERS owed them a duty to not record


     DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’                                         HOLLAND & KNIGHT LLP
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1    allegedly false information. The traditional purpose of a recording statute is to protect subsequent

2    purchasers from secret conveyances and encumbrances. Daviscourt v. Quality Loan Servs. Corp. of

3    Washington, 200 Wash. App. 1026 (2017) (citing WASHINGTON PRACTICE REAL ESTATE:

4    TRANSACTIONS § 14.5, at 126-27 (2d ed. 2004 & Supp. 2017); 1 JOYCE PALOMAR, PATTON

5    AND PALOMAR ON LAND TITLES § 12, at 57-58 (3d ed. 2003)). It “is more likely that the duty

6    stemming from recording documents would be owed to subsequent purchasers, not the original

7    parties to a transaction,” like the Plaintiffs herein. Id. (emphasis added). As the Washington Supreme

8    Court has explained, “[w]hen no independent tort duty exists, tort does not provide a remedy.”

9    Eastwood v. Horse Harbor Found., Inc., 170 Wn. 2d 380, 389, 241 P.3d 1256 (2010).

10          Courts throughout the Ninth Circuit routinely find MERS owed no duty to borrowers based on

11   in its role under security instruments. See, e.g., Bell v. FDIC, 2010 U.S. Dist. LEXIS 82463, 2010 WL

12   3211960 (W.D. Wash. Aug. 9, 2010) (dismissing claim in finding MERS owed no fiduciary duty);

13   Longnecker v. Nationstar Mortg. LLC, No. C16-0093RSM, 2016 WL 865353, at *3 (W.D. Wash. Mar.

14   7, 2016) (finding MERS owed no fiduciary duty and claim was contrary to law); Rundgren v. Bank of

15   New York Mellon, No. CIV 10-00252 JMS/LEK, 2010 WL 4066878, at *8 (D. Haw. Oct. 14, 2010)

16   (MERS does not owe a duty to Plaintiff because she had no “confidential or trust relationship”

17   with MERS.); Gzell v. Novastar Mortgage, Inc., 2010 WL 3293537, at * 10 (E.D.Cal. Aug.19, 2010)

18   (finding no actionable duty to impose liability on MERS arising from “an arms-length loan

19   transaction”); Mulato v. WMC Mortg. Corp., 2010 WL 1532276, at *2 (N.D. Cal. Apr. 16, 2010)

20   (dismissing negligence claim against MERS where plaintiff failed to plead facts to show that MERS

21   exceeded its traditional role to support a duty).

22          Since MERS owed no duty to Plaintiffs under the Deed of Trust, and Plaintiffs cannot

23   demonstrate any independent duty created, the negligence claim fails as a matter of law and should be

24   dismissed with prejudice.

25   //

26   //


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1    V.     CONCLUSION

2           For all of the foregoing reasons, MERS respectfully requests that this Court grant this Motion

3    to Dismiss with prejudice in favor of MERS.

4
            DATED: August 20, 2021.
5

6
                                                   HOLLAND & KNIGHT LLP
7
                                                       s/ Nellie Q. Barnard
8                                                      Nellie Q. Barnard, WSBA No. 50587
9                                                      E-mail: nellie.barnard@hklaw.com
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10                                                     Portland, OR 97204
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11
                                                       Attorneys for Mortgage Electronic Registration
12                                                     Systems, Inc
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     DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’                                     HOLLAND & KNIGHT LLP
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1                                       CERTIFICATE OF SERVICE

2            I hereby certify that a true and correct copy of the foregoing documents was served by the
3    Court’s CM/ECF system to all counsel of record on this 20th day of August, 2021.
4

5                                                       s/ Nellie Q. Barnard
                                                        Nellie Q. Barnard
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      CERTIFICATE OF SERVICE – PAGE 1                                            HOLLAND & KNIGHT LLP
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                                                                                        Portland, OR 97204
                                                                                      Telephone: 503.243.2300


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                     Exhibit A
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     THIS DEED OF TRUST is made this 27th day of FEBRUARY 2007                                        , among
the Grantor, ALBERTO RIVERA MONROY AND IRMA PARRA-RIVERA,
HUSBAND AND WIFE
                                                                                         (herein "Borrower"),
FIRST AMERICAN TITLE INSURANCE COMPANY 2101 FOURTH AVE
SUITE 800, SEATTLE, WASHINGTON 98121             (herein "Trustee"),
and the Beneficiary, Mortgage Electronic Registration Systems, Inc. ("MERS"), (solely as nominee for
Lender, as hereinafter defined, and Lender's successors and assigns). MERS is organized and existing under
the laws of Delaware, and has an address and telephone number of P.O. Box 2026, Flint, MI 48501-2026,
tel. (888) 679-MERS.
LIBERTY FINANCIAL GROUP, INC, A WASHINGTON CORPORATION
is organized and existing under the laws of WASHINGTON                                   and has an address of
205 108TH AVENUE NE, #270, BELLEVUE, WASHINGTON 98004
                                                                                           (herein "Lender").

      BORROWER, in consideration of the indebtedness herein recited and the trust herein created,
irrevocably grants and conveys to Trustee, in trust, with power of sale, the following described property
located in the County of KING                                   , State of Washington:
LOT(S) 57, BELMONT WOODS DIVISION II, ACCORDING TO THE PLAT
THEREOF RECORDED IN VOLUME 172 OF PLATS, PAGE(S) 77 THROUGH
85, RECORDS OF KING COUNTY, WASHINGTON. SITUATE IN THE
COUNTY OF KING, STATE OF WASHINGTON.
A.P.N.: 070571-0570-02


THIS SECURITY INSTRUMENT IS SECOND AND SUBORDINATE TO A
FIRST LIEN RECORDING CONCURRENTLY.
which has the address of 23829 SE 248TH STREET
                                                                [Street)
  MAPLE VALLEY                             , Washington        98038              (herein "Property Address");
               [City[                                                [Zip Code)


      TOGETHER with all the improvements now or hereafter erected on the property, and all easements,
rights, appurtenances and rents (subject however to the rights and authorities given herein to Lender to
collect and apply such rents), all of which shall be deemed to be and remain a part of the property covered
by this Deed of Trust; and all of the foregoing, together with said property (or the leasehold estate if this
Deed of Trust is on a leasehold) are hereinafter referred to as the "Property." Borrower understands and
agrees that MERS holds only legal title to the interests granted by Borrower in this Deed of Trust; but, if
necessary to comply with law or custom, MERS, (as nominee for Lender and Lender's successors and
assigns), has the right: to exercise any or all of those interests, including, but not limited to, the right to
foreclose and sell the Property; and to take any action required of Lender including, but not limited to,
releasing or cancelling this Deed of Trust.




WASHINGTON-SECOND MORTGAGE                                                        DocMagic � B00-649-1362
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